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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                             CONSOLIDATED ACTION
                                            Case No. 18-62758-CIV-DIMITROULEAS
                                            Case No. 19-61623-CIV-DIMITROULEAS
                                            Case No. 20-60303-CIV-DIMITROULEAS
                                            Case No. 20-60306-CIV-DIMITROULEAS
                                            Case No. 20-60307-CIV-DIMITROULEAS
                                            Case No. 20-60308-CIV-DIMITROULEAS
                                            Case No. 20-60310-CIV-DIMITROULEAS
                                            Case No. 20-60311-CIV-DIMITROULEAS
                                            Case No. 20-60317-CIV-DIMITROULEAS
                                            Case No. 20-60319-CIV-DIMITROULEAS
                                            Case No. 20-60322-CIV-DIMITROULEAS
                                            Case No. 20-60325-CIV-DIMITROULEAS
                                            Case No. 20-60326-CIV-DIMITROULEAS
                                            Case No. 20-60327-CIV-DIMITROULEAS
                                            Case No. 20-60328-CIV-DIMITROULEAS
                                            Case No. 20-60330-CIV-DIMITROULEAS
                                            Case No. 20-60331-CIV-DIMITROULEAS
                                            Case No. 20-60332-CIV-DIMITROULEAS
                                            Case No. 20-60333-CIV-DIMITROULEAS
                                            Case No. 20-60481-CIV-DIMITROULEAS
                                            Case No. 20-60483-CIV-DIMITROULEAS
                                            Case No. 20-61088-CIV-DIMITROULEAS
                                            Case No. 20-61103-CIV-DIMITROULEAS
                                            Case No. 20-61894-CIV-DIMITROULEAS
                                            Case No. 20-61895-CIV-DIMITROULEAS
                                            Case No. 20-61896-CIV-DIMITROULEAS
                                            Case No. 20-61919-CIV-DIMITROULEAS
                                            Case No. 20-62470-CIV-DIMITROULEAS
                                            Case No. 20-62471-CIV-DIMITROULEAS
                                            Case No. 20-62472-CIV-DIMITROULEAS
                                            Case No. 20-62473-CIV-DIMITROULEAS
                                            Case No. 20-62476-CIV-DIMITROULEAS
                                            Case No. 20-62485-CIV-DIMITROULEAS
                                            Case No. 20-62486-CIV-DIMITROULEAS
                                            Case No. 20-62487-CIV-DIMITROULEAS
                                            Case No. 20-62497-CIV-DIMITROULEAS
                                            Case No. 20-62508-CIV-DIMITROULEAS
                                            Case No. 20-62509-CIV-DIMITROULEAS
                                            Case No. 20-62513-CIV-DIMITROULEAS
                                            Case No. 20-62516-CIV-DIMITROULEAS
                                            Case No. 20-62525-CIV-DIMITROULEAS
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   IN RE: MARJORY STONEMAN DOUGLAS
   HIGH SCHOOL SHOOTING FTCA LITIGATION
   ______________________________________/

                                                  ORDER
           THIS CAUSE is before the Court on the Joint Status Report, filed on March 16, 2022.

   [DE 512]. The Court has carefully considered the filing and is otherwise fully advised in the

   premises.

           The Government states that the Associate Attorney General approved the global

   settlement on March 1, 2022. See id. All 40 of the Stipulations for Compromise Settlement and

   Release (“Stipulations”) now have been signed on behalf of the United States, and sent to the

   United States Department of Treasury for payment. See id.

           Based on the foregoing, it is ORDERED AND ADJUDGED that no later than May 2,

   2022, the parties shall either file the appropriate dismissal papers or show cause why those

   papers have not been filed. Upon the filing of the stipulations of dismissal, the Court will close

   this case, but retain jurisdiction over the attorneys’ fee dispute.

           DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida this

   17th day of March, 2022.




   Copies furnished to:
   Counsel of record
